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 7
                            UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
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11   JOANNE MICHELLE ROSE,                   Case No. 2:22-CV-02026-FWS-E
12                        Plaintiff,         STIPULATED PROTECTIVE
                                             ORDER
13         vs.
14   CROWN MEDIA HOLDINGS, INC.
15
     and ISLAND PRODUCTIONS, LLC
     d/b/a ISLAND FILM GROUP,
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                          Defendants.
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 1           Plaintiff Joanne Michelle Rose (“Plaintiff”), on the one hand, and defendants
 2   Crown Media Holdings, Inc. and Island Productions, LLC (collectively,
 3   “Defendants”), on the other hand, agree that, pursuant to Rule 26(c) of the Federal
 4   Rules of Civil Procedure, this Protective Order is needed to prevent the unnecessary
 5   disclosure or dissemination of confidential, proprietary or trade secret information.
 6           IT IS HEREBY STIPULATED AND AGREED by and between the parties,
 7   through their undersigned counsel, as follows:
 8      1.        PURPOSES AND LIMITATIONS
 9      Discovery in this action is likely to involve production of confidential,
10   proprietary, or private information for which special protection from public
11   disclosure and from use for any purpose other than prosecuting this litigation may
12   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
13   enter the following Stipulated Protective Order. The parties acknowledge that this
14   Order does not confer blanket protections on all disclosures or responses to
15   discovery and that the protection it affords from public disclosure and use extends
16   only to the limited information or items that are entitled to confidential treatment
17   under the applicable legal principles. The parties further acknowledge, as set forth
18   in Section 12.3 below, that this Stipulated Protective Order does not entitle them to
19   file confidential information under seal; Civil Local Rule 79-5 sets forth the
20   procedures that must be followed and the standards that will be applied when a party
21   seeks permission from the Court to file material under seal.
22           2.     GOOD CAUSE STATEMENT
23           This action is likely to involve commercial, financial, proprietary, creative
24   and developmental content, and other confidential information for which special
25   protection from public disclosure and from use for any purpose other than
26   prosecution of this action is warranted. Such confidential and proprietary materials
27   and information consist of, among other things, confidential business or financial
28   information, information regarding confidential business practices, or other
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 1   confidential research, development, or commercial information (including
 2   information implicating privacy rights of third parties), information otherwise
 3   generally unavailable to the public, or which may be privileged or otherwise
 4   protected from disclosure under state or federal statutes, court rules, case decisions,
 5   or common law. Accordingly, to expedite the flow of information, to facilitate the
 6   prompt resolution of disputes over confidentiality of discovery materials, to
 7   adequately protect information the parties are entitled to keep confidential, to ensure
 8   that the parties are permitted reasonable necessary uses of such material in
 9   preparation for and in the conduct of trial, to address their handling at the end of the
10   litigation, and serve the ends of justice, a protective order for such information is
11   justified in this matter. It is the intent of the parties that information will not be
12   designated as confidential for tactical reasons and that nothing be so designated
13   without a good faith belief that it has been maintained in a confidential, non-public
14   manner, and there is good cause why it should not be part of the public record of this
15   case.
16           3.    DEFINITIONS
17           3.1   Action: The instant action: Rose v. Crown Media Holdings, Inc. et al.,
18   Case No. 2:22-cv-02026-FWS-E.
19           3.2   Challenging Party: a Party or Non-Party that challenges the
20   designation of information or items under this Order.
21           3.3   “CONFIDENTIAL” Information or Items: information (regardless of
22   how it is generated, stored or maintained) or tangible things that qualify for
23   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
24   the Good Cause Statement.
25           3.4   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
26   Information or Items: extremely sensitive “CONFIDENTIAL” Information or
27   Items, the disclosure of which to another Party or Non-Party would create a
28   substantial risk of serious harm that could not be avoided by less restrictive means.
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 1          3.5    Counsel: Outside Counsel of Record and House Counsel (as well as
 2   their support staff).
 3          3.6    Designating Party: a Party or Non-Party that designates information or
 4   items that it produces in disclosures or in responses to discovery as
 5   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 6   ONLY.”
 7          3.7    Disclosure or Discovery Material: all items or information, regardless
 8   of the medium or manner in which it is generated, stored, or maintained (including,
 9   among other things, testimony, transcripts, and tangible things), that are produced or
10   generated in disclosures or responses to discovery in this matter.
11          3.8    Expert: a person with specialized knowledge or experience in a matter
12   pertinent to the litigation who has been retained by a Party or its counsel to serve as
13   an expert witness or as a consultant in this Action.
14          3.9    House Counsel: attorneys who are employees of a party to this Action.
15   House Counsel does not include Outside Counsel of Record or any other outside
16   counsel.
17          3.10 Non-Party: any natural person, partnership, corporation, association, or
18   other legal entity not named as a Party to this action.
19          3.11 Outside Counsel of Record: attorneys who are not employees of a
20   party to this Action but are retained to represent or advise a party to this Action and
21   have appeared in this Action on behalf of that party or are affiliated with a law firm
22   which has appeared on behalf of that party, and includes support staff.
23          3.12 Party: any party to this Action, including all of its officers, directors,
24   employees, consultants, retained experts, and Outside Counsel of Record (and their
25   support staffs).
26          3.13 Producing Party: a Party or Non-Party that produces Disclosure or
27   Discovery Material in this Action.
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 1         3.14 Professional Vendors: persons or entities that provide litigation
 2   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 3   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 4   and their employees and subcontractors.
 5         3.15 Protected Material: any Disclosure or Discovery Material that is
 6   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 7   ATTORNEYS’ EYES ONLY.”
 8         3.16 Receiving Party: a Party that receives Disclosure or Discovery
 9   Material from a Producing Party.
10         4.     SCOPE
11         The protections conferred by this Stipulation and Order cover not only
12   Protected Material (as defined above), but also (1) any information copied or
13   extracted from Protected Material; (2) all copies, excerpts, summaries, or
14   compilations of Protected Material; and (3) any testimony, conversations, or
15   presentations by Parties or their Counsel that might reveal Protected Material.
16         Any use of Protected Material at trial shall be governed by the orders of the
17   trial judge. This Order does not govern the use of Protected Material at trial.
18         4.     DURATION
19         Even after final disposition of this litigation, the confidentiality obligations
20   imposed by this Order shall remain in effect until a Designating Party agrees
21   otherwise in writing or a court order otherwise directs. Final disposition shall be
22   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
23   or without prejudice; and (2) final judgment herein after the completion and
24   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
25   including the time limits for filing any motions or applications for extension of time
26   pursuant to applicable law.
27         5.     DESIGNATING PROTECTED MATERIAL
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 1         5.1      Exercise of Restraint and Care in Designating Material for Protection.
 2   Each Party or Non-Party that designates information or items for protection under
 3   this Order must take care to limit any such designation to specific material that
 4   qualifies under the appropriate standards. The Designating Party must designate for
 5   protection only those parts of material, documents, items, or oral or written
 6   communications that qualify so that other portions of the material, documents,
 7   items, or communications for which protection is not warranted are not swept
 8   unjustifiably within the ambit of this Order.
 9         Mass, indiscriminate, or routinized designations are prohibited. Designations
10   that are shown to be clearly unjustified or that have been made for an improper
11   purpose (e.g., to unnecessarily encumber the case development process or to impose
12   unnecessary expenses and burdens on other parties) may expose the Designating
13   Party to sanctions.
14         If it comes to a Designating Party’s attention that information or items that it
15   designated for protection do not qualify for protection, that Designating Party must
16   promptly notify all other Parties that it is withdrawing the inapplicable designation.
17         5.2      Manner and Timing of Designations. Except as otherwise provided in
18   this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
19   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
20   under this Order must be clearly so designated before the material is disclosed or
21   produced.
22         Designation in conformity with this Order requires:
23               (a) for information in documentary form (e.g., paper or electronic
24   documents, but excluding transcripts of depositions or other pretrial or trial
25   proceedings), that the Producing Party affix at a minimum, the legend
26   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
27   ONLY” to each page that contains protected material. If only a portion or portions
28   of the material on a page qualifies for protection, the Producing Party also must
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 1   clearly identify the protected portion(s) (e.g., by making appropriate markings in the
 2   margins).
 3         A Party or Non-Party that makes original documents available for inspection
 4   need not designate them for protection until after the inspecting Party has indicated
 5   which documents it would like copied and produced. During the inspection and
 6   before the designation, all of the material made available for inspection shall be
 7   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 8   documents it wants copied and produced, the Producing Party must determine which
 9   documents, or portions thereof, qualify for protection under this Order. Then,
10   before producing the specified documents, the Producing Party must affix the
11   “CONFIDENTIAL”, or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
12   ONLY” legend to each page that contains Protected Material. If only a portion or
13   portions of the material on a page qualifies for protection, the Producing Party also
14   must clearly identify the protected portion(s) (e.g., by making appropriate markings
15   in the margins).
16               (b) for testimony given in depositions that the Disclosing Party identify
17   the Disclosure or Discovery Material on the record, before the close of the
18   deposition of all protected testimony.
19               (c) for information produced in some form other than documentary and
20   for any other tangible items, that the Producing Party affix in a prominent place on
21   the exterior of the container or containers in which the information is stored the
22   legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
23   EYES ONLY.” If only a portion or portions of the information warrants protection,
24   the Producing Party, to the extent practicable, shall identify the protected portion(s).
25         5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
26   failure to designate qualified information or items does not, standing alone, waive
27   the Designating Party’s right to secure protection under this Order for such material.
28   Upon timely correction of a designation, the Receiving Party must make reasonable
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 1   efforts to assure that the material is treated in accordance with the provisions of this
 2   Order.
 3         6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
 4         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
 5   designation of confidentiality at any time that is consistent with the Court’s
 6   Scheduling Order.
 7         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
 8   resolution process under Local Rule 37-1 et seq.
 9         6.3    The burden of persuasion in any such challenge proceeding shall be on
10   the Designating Party. Frivolous challenges, and those made for an improper
11   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
12   parties) may expose the Challenging Party to sanctions. Unless the Designating
13   Party has waived or withdrawn the confidentiality designation, all parties shall
14   continue to afford the material in question the level of protection to which it is
15   entitled under the Producing Party’s designation until the Court rules on the
16   challenge.
17         7.     ACCESS TO AND USE OF PROTECTED MATERIAL
18         7.1    Basic Principles. A Receiving Party may use Protected Material that is
19   disclosed or produced by another Party or by a Non-Party in connection with this
20   Action only for prosecuting, defending, or attempting to settle this Action. Such
21   Protected Material may be disclosed only to the categories of persons and under the
22   conditions described in this Order. When the Action has been terminated, a
23   Receiving Party must comply with the provisions of Section 13 below.
24         Protected Material must be stored and maintained by a Receiving Party at a
25   location and in a secure manner that ensures that access is limited to the persons
26   authorized under this Order.
27         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
28   otherwise ordered by the court or permitted in writing by the Designating Party, a
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 1   Receiving Party may disclose any information or item designated
 2   “CONFIDENTIAL” only to:
 3            (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 4   well as employees of said Outside Counsel of Record to whom it is reasonably
 5   necessary to disclose the information for this Action;
 6            (b) the officers, directors, and employees (including House Counsel) of
 7   the Receiving Party to whom disclosure is reasonably necessary for this Action;
 8            (c) Experts (as defined in this Order) of the Receiving Party to whom
 9   disclosure is reasonably necessary for this Action and who have signed the
10   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11            (d) the court and its personnel;
12            (e) court reporters and their staff;
13            (f) professional jury or trial consultants, mock jurors, and Professional
14   Vendors to whom disclosure is reasonably necessary for this Action and who have
15   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
16            (g) the author or recipient of a document containing the information or a
17   custodian or other person who otherwise possessed or knew the information;
18            (h) during their depositions, witnesses, and attorneys for witnesses, in the
19   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
20   requests that the witness sign the “Acknowledgment and Agreement to Be Bound”
21   (Exhibit A); and (2) they will not be permitted to keep any confidential information
22   unless they sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
23   unless otherwise agreed by the Designating Party or ordered by the court. Pages of
24   transcribed deposition testimony or exhibits to depositions that reveal Protected
25   Material may be separately bound by the court reporter and may not be disclosed to
26   anyone except as permitted under this Protective Order; and
27            (i) any mediator or settlement officer, and their supporting personnel,
28   mutually agreed upon by any of the parties engaged in settlement discussions.
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  1         7.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  2   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
  3   writing by the Designating Party, a Receiving Party may disclose any information or
  4   item designated “HIGHLY CONFIDENTIAL” only to:
  5         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
  6   as employees of said Outside Counsel of Record to whom it is reasonably necessary
  7   to disclose the information for this Action;
  8         (b) House Counsel of the Receiving Party;
  9         (c) Experts (as defined in this Order) of the Receiving Party to whom
 10   disclosure is reasonably necessary for this Action and who have signed the
 11   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 12         (d) the court and its personnel;
 13         (e) private court reporters and their staff to whom disclosure is reasonably
 14   necessary for this Action and who have signed the “Acknowledgment and
 15   Agreement to Be Bound” (Exhibit A);
 16          (f) the author or recipient of a document containing the information or a
 17   custodian or other person who otherwise possessed or knew the information; and
 18         (g) any mediator or settlement officer, and their supporting personnel,
 19   mutually agreed upon by any of the parties engaged in settlement discussions.
 20         8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED
 21                  PRODUCED IN OTHER LITIGATION
 22         If a Party is served with a subpoena or a court order issued in other litigation
 23   that compels disclosure of any information or items designated in this Action as
 24   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 25   ONLY,” that Party must:
 26               (a) promptly notify in writing the Designating Party. Such notification
 27   shall include a copy of the subpoena or court order;
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  1              (b) promptly notify in writing the party who caused the subpoena or order
  2   to issue in the other litigation that some or all of the material covered by the
  3   subpoena or order is subject to this Protective Order. Such notification shall include
  4   a copy of this Protective Order; and
  5              (c) cooperate with respect to all reasonable procedures sought to be
  6   pursued by the Designating Party whose Protected Material may be affected.
  7         If the Designating Party timely seeks a protective order, the Party served with
  8   the subpoena or court order shall not produce any information designated in this
  9   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
 10   EYES ONLY” before a determination by the court from which the subpoena or
 11   order issued, unless the Party has obtained the Designating Party’s permission. The
 12   Designating Party shall bear the burden and expense of seeking protection in that
 13   court of its confidential material and nothing in these provisions should be construed
 14   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
 15   directive from another court.
 16         9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 17                 PRODUCED IN THIS LITIGATION
 18              (a) The terms of this Order are applicable to information produced by a
 19   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
 20   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by
 21   Non-Parties in connection with this litigation is protected by the remedies and relief
 22   provided by this Order. Nothing in these provisions should be construed as
 23   prohibiting a Non-Party from seeking additional protections.
 24              (b) In the event that a Party is required, by a valid discovery request, to
 25   produce a Non-Party’s confidential information in its possession, and the Party is
 26   subject to an agreement with the Non-Party not to produce the Non-Party’s
 27   confidential information, then the Party shall:
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  1                  (1) promptly notify in writing the Requesting Party and the Non-Party
  2   that some or all of the information requested is subject to a confidentiality
  3   agreement with a Non-Party;
  4                  (2) promptly provide the Non-Party with a copy of the Protective
  5   Order in this Action, the relevant discovery request(s), and a reasonably specific
  6   description of the information requested; and
  7                  (3) make the information requested available for inspection by the
  8   Non-Party, if requested.
  9               (c) If a Non-Party fails to seek a protective order from this court within 14
 10   days of receiving the notice and accompanying information, the Receiving Party
 11   may produce the Non-Party’s confidential information responsive to the discovery
 12   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
 13   not produce any information in its possession or control that is subject to the
 14   confidentiality agreement with the Non-Party before a determination by the court.
 15   Absent a court order to the contrary, the Non-Party shall bear the burden and
 16   expense of seeking protection in this court of its Protected Material.
 17         10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 18         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 19   Protected Material to any person or in any circumstance not authorized under this
 20   Protective Order, the Receiving Party must immediately (a) notify in writing the
 21   Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
 22   all unauthorized copies of the Protected Material, (c) inform the person or persons to
 23   whom unauthorized disclosures were made of all the terms of this Order, and
 24   (d) request such person or persons to execute the “Acknowledgment and Agreement
 25   to Be Bound” (Exhibit A).
 26         11.      INADVERTENT PRODUCTION OF PRIVILEGED OR
 27                  OTHERWISE PROTECTED MATERIAL
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  1         When a Producing Party gives notice to Receiving Parties that certain
  2   inadvertently produced material is subject to a claim of privilege or other protection,
  3   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  4   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
  5   procedure may be established in an e-discovery order that provides for production
  6   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
  7   (e), insofar as the parties reach an agreement on the effect of disclosure of a
  8   communication or information covered by the attorney-client privilege or work
  9   product protection, the parties may incorporate their agreement into this Protective
 10   Order submitted to the court.
 11         12.    MISCELLANEOUS
 12         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 13   person to seek its modification by the Court in the future.
 14         12.2 Right to Assert Other Objections. By stipulating to the entry of this
 15   Protective Order no Party waives any right it otherwise would have to object to
 16   disclosing or producing any information or item on any ground not addressed in this
 17   Stipulated Protective Order. Similarly, no Party waives any right to object on any
 18   ground to use in evidence of any of the material covered by this Protective Order.
 19         12.3 Filing Protected Material. A Party that seeks to file under seal any
 20   Protected Material must comply with Civil Local Rule 79-5. Protected Material
 21   may only be filed under seal pursuant to a court order authorizing the sealing of the
 22   specific Protected Material at issue. If a Party’s request to file Protected Material
 23   under seal is denied by the court, then the Receiving Party may file the information
 24   in the public record unless otherwise instructed by the court.
 25         13.    FINAL DISPOSITION
 26         After the final disposition of this Action, as defined in Section 4, within 60
 27   days of a written request by the Designating Party, each Receiving Party must return
 28   all Protected Material to the Producing Party or destroy such material. As used in
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  1   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  2   summaries, and any other format reproducing or capturing any of the Protected
  3   Material. Whether the Protected Material is returned or destroyed, the Receiving
  4   Party must submit a written certification to the Producing Party (and, if not the same
  5   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
  6   (by category, where appropriate) all the Protected Material that was returned or
  7   destroyed and (2) affirms that the Receiving Party has not retained any copies,
  8   abstracts, compilations, summaries or any other format reproducing or capturing any
  9   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 10   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 11   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 12   reports, attorney work product, and consultant and expert work product, even if such
 13   materials contain Protected Material. Any such archival copies that contain or
 14   constitute Protected Material remain subject to this Protective Order as set forth in
 15   Section 4.
 16   /

 17   /

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  1         14.    Any violation of this Order may be punished by any and all appropriate
  2   measures including, without limitation, contempt proceedings and/or monetary
  3   sanctions.
  4

  5         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  6

  7   DATED: November 8, 2022                   DAVIS WRIGHT TREMAINE LLP
  8                                             By: /s/ Nicolas A. Jampol
                                                    Nicolas A. Jampol
  9
                                                    Attorneys for Defendants
 10                                                 CROWN MEDIA HOLDINGS, INC. and
                                                    ISLAND PRODUCTIONS, LLC
 11

 12   DATED: November 8, 2022                   SANDERS LAW GROUP
 13                                             By: /s/ Craig B. Sanders
 14                                                   Craig B. Sanders

 15                                                 Attorneys for Plaintiff
                                                    JOANNE M. ROSE
 16

 17
            Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other
 18
      signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
 19
      content and have authorized the filing.
 20

 21

 22
            FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 23

 24
      DATED: 11/8/22
 25
                                                    //S/ CHARLES F. EICK
                                                  _________________________
 26                                               Honorable Charles F. Eick
                                                  United States Magistrate Judge
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                                                  15
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  1                                        EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3

  4   I,   _____________________________             [print   or   type   full   name],   of
  5   _________________ [print or type full address], declare under penalty of perjury
  6   that I have read in its entirety and understand the Protective Order that was issued
  7   by the United States District Court for the Central District of California on
  8   _________________________ in the case of Rose v. Crown Media Holdings, Inc. et
  9   al., Case No. 2:22-cv-02026-FWS-E. I agree to comply with and to be bound by all
 10   the terms of this Protective Order and I understand and acknowledge that failure to
 11   so comply could expose me to sanctions and punishment in the nature of contempt. I
 12   solemnly promise that I will not disclose in any manner any information or item that
 13   is subject to this Protective Order to any person or entity except in strict compliance
 14   with the provisions of this Order.
 15         I further agree to submit to the jurisdiction of the United States District Court
 16   for the Central District of California for the purpose of enforcing the terms of this
 17   Protective Order, even if such enforcement proceedings occur after termination of
 18   this action. I hereby appoint __________________________ [print or type full
 19   name] of _______________________________________ [print or type full address
 20   and telephone number] as my California agent for service of process in connection
 21   with this action or any proceedings related to enforcement of this Protective Order.
 22   Date: ______________________________________
 23   City and State where sworn and signed: _________________________________
 24

 25   Printed name: _______________________________
 26

 27   Signature: __________________________________
 28
                                                16
